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                                IN THE UNITED STATES DISTRICT COURT
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                                  EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                     ) CASE NO. 2:03-CR-0371 MCE
                                                   )
12                               Plaintiff,            -------------- ORDER SEALING EXHIBIT 1 TO
                                                   ) [PROPOSED]
                                                   )        GOVERNMENT’S CONSOLIDATED
13                         v.                      )   OPPOSITION TO DEFEDNANTS’ MOTIONS
                                                   )
14   DWAYNE LAMONT SLATER, et al.,                 )                UNDER 28 U.S.C. § 2255
                                                   )
15                                                 )
                                 Defendants.       )
16                                                 )
                                                   )
17                                                 )
                                                   )
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19         Pursuant to Local Rule 141(b) and based upon the representations contained in the Government’s

20 Request to Seal, IT IS HEREBY ORDERED that Exhibit 1 to the consolidated Opposition filed by the

21 United States, Docket No. 1051, in response to the defendants’ Motions under 28 U.S.C. § 2255 shall be

22 SEALED until further order of this Court.
          10/19/16
23 Dated: __________

24                                                      MORRISON C. ENGLAND
                                                        United States District Judge
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